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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


 ALEXANDER KESTENBAUM, JOHN
 DOE #1, and JOHN DOE #2,

                                                 Case No. 1:24-cv-10092-RGS
              Plaintiffs,

 v.
                                               DECLARATION OF
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE,

              Defendant.



      DECLARATION OF           IN SUPPORT OF PLAINTIFFS’
             MOTION TO PROCEED PSEUDONYMOUSLY

      I,              declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

as follows:

      1.      I am a Jewish and Israeli student at Harvard University, enrolled in my

second year at Harvard Business School (“HBS”).

      2.      I submit this declaration in support of Plaintiffs’ Motion to Proceed

Pseudonymously.

      3.      I, along with dozens of other Jewish and Israeli students, have faced

hostile and severe antisemitism, including violence and harassment, as a result of the

rise in antisemitic incidents on Harvard University’s campus.

      4.      I have also experienced numerous documented incidents of harassment

and retaliation as a result of taking a stand against antisemitism.

      5.      On October 18, 2023, the Harvard Undergraduate Palestine Solidarity

Committee and Harvard Graduate Students 4 Palestine hosted a “die-in” protest (the

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“October 18 Demonstration”) at HBS. The groups promoted the event on social media

as a “demand [to] end [an] ongoing genocide.”

      6.     Hundreds of protesters marched from outside Harvard University

President Claudine Gay’s office to HBS, where they raised signs stating “from the river

to the sea” and chanted “free, free Palestine” and other slogans. They accused Israel of

committing “genocide” and called for the eradication of the Jewish state.

      7.     A group leader at the October 18 Demonstration explained that the

protest was motivated by the belief that “Israel is a fascist, genocidal government” that

operates an “apartheid regime . . . rooted in the same logic of settler colonialism.”

      8.     This October 18 Demonstration then turned violent.

      9.     While the October 18 Demonstration was ongoing, I was walking outside

HBS’s Klarman Hall and encountered the October 18 Demonstration taking place on

the quad, which is accessible to all Harvard students. I was wearing a blue bracelet,

reflecting my Israeli identity.

      10.    As I was walking and filming the event, a self-designated “safety

marshal”—which included at least one Harvard Divinity School (“HDS”) student and

one Harvard Law School (“HLS”) student—accosted me. Although the event was open

to all students and on University property, I was repeatedly shouted at: “get out.”

      11.    An HLS student then shoved a keffiyeh in my face. Another protester

dressed in all black, including a black hood and black face mask, then leapt at me.

Following the lead of the self-designated “safety marshals,” a mob formed, surrounding

me with keffiyehs and then violently grabbing me. The mob swarmed in even closer,

constantly repeating the word “exit”—making it very clear that somebody like me, an

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Israeli Jewish student, was not welcome.

       12.   The violence then escalated. The mob began to forcefully grab me and

push me around. I repeatedly pleaded with those assaulting me to stop, but they

refused. I repeated numerous times, “Please don’t touch me” and “Please don’t grab

me.”

       13.   The mob then began yelling in my face, “Shame! Shame! Shame!” Fearful

for my safety, I tried to escape and was finally able to move past the mob.

       14.   In the weeks that followed the mob attack, several Harvard students and

at least one instructor posted defamatory remarks about me on the internet.

       15.   On November 1, 2023, in an X post, a first-year law student at HLS

accused me of acting “aggressive[ly]” and “taking invasive photos and getting in [the

protesters’] faces.” She falsely claimed that I was “masked/covered to hide his identity,”

and that “the safety marshals did NOT touch this student.”

       16.   On November 2, 2023, a second-year law student at HLS alleged on X that

I had been “getting close to our faces and taking invasive pics” and “aggressively

stepping over and near people.” The student also falsely claimed that “nobody there got

physical with” me.

       17.   On December 2, 2023, these same two law students published an article

on Medium accusing me of “harassment” at the event and blaming me for bringing the

assault on myself.

       18.   On December 5, 2023, a group of Harvard faculty published a statement

that likewise blamed me for bringing the assault on myself, falsely characterizing the

October 18 Demonstration as “peaceful” and defending the assaulters’ actions as “de-


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escalation tactics.”

      19.    Of course, none of this was true, and it is directly belied by video footage

capturing the assault. I was physically assaulted at the October 18 Demonstration;

and, unlike many of those who attacked me, I was not covering my face, and I was not

acting aggressively or harassing anyone.

      20.    On November 13, 2023, I filed a complaint with HLS, detailing the verbal

harassment and physical assault that I endured at the October 18 Demonstration by

multiple Harvard graduate students, including one who is completing his second year

at HLS.

      21.    On November 15, 2023, I also filed a complaint with HDS detailing the

verbal harassment and physical assault that I endured at the October 18

Demonstration by multiple Harvard graduate students, including one who is

completing his second year at HDS.

      22.    Harvard has since failed to adequately investigate this incident and

punish the assailants.

      23.    Compounding the Harvard Administration’s mishandling of the situation,

in May 2024, Jeremy C. Fox, an instructor employed by the Harvard Extension School,

contributed to a Boston Globe article that minimized the attack on me and defended

the attackers.

      24.    Another student posted defamatory remarks about me in various official

club group chats. He called me a “Zionist aggressor,” stated “we all know who controls

the media,” and called Israel a “terrorist state.” In November 2023, I reported this

to Ben Longstreth, Associate Director, Community Standards and Program Services at


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HBS. However, Harvard seemingly failed to discipline the student.

      25.    In addition to this incident of assault, antisemitism has pervaded

Harvard’s campus since October 7, 2023, and Harvard has repeatedly failed to rectify

it. This has directly put me and dozens of other Jewish and Israeli students at risk of

harassment, discrimination, and violence.

      26.    Anti-Jewish and Anti-Israeli students, faculty, and organizations have

erected encampments taking over entire sections of campus, plastered antisemitic

materials across campus, occupied student study and community areas, and issued

threats in-person and over social media.

      27.    Since the Court granted the unopposed motion, antisemitism on

Harvard’s campus has only escalated—and Harvard has failed to act in any way to

adequately remedy it.

      28.    I continue to be subjected to antisemitic harassment on Harvard’s

campus, and the revelation of my personal identity in this proceeding would

significantly escalate this harassment, potentially leading to more violence.

      29.    I have already been physically attacked due to my Jewish and Israeli

identity, and I fear that the revelation of my personal identity in this proceeding would

further jeopardize my physical safety.

      30.    I am also aware of what happened to Plaintiff Kestenbaum after he filed

this lawsuit, and I fear that the revelation of my personal identity in this proceeding

would subject me to similar acts of retaliation.

      31.    Further, I believe that the revelation of my personal identity in this

proceeding would deter other students who have suffered from Harvard’s pervasive


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environment of antisemitism from seeking to vindicate their rights, as they share my

fears of physical violence, harassment, and other forms of retaliation.

      32.    For this reason, I respectfully request that this Court allow me to proceed

in this matter pseudonymously.



I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge and belief.


Signed this 21st day of March 2025 under the pains and penalties of perjury.


                                                      /s/




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